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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Case No. 16-cv-00671-RM-NRN

  ISABEL VALVERDE
  MARIA SIMON; and those similarly situated

        Plaintiffs,
  v.

  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY;
  OMNI INTERLOCKEN COMPANY, L.L.C.;
  OMNI HOTELS MANAGEMENT CORPORATION; and
  MARRIOTT INTERNATIONAL, INC.

        Defendants.


  Civil Case No. 17-cv-01602-RM-NRN

  JOSE TREJO;
  MARISOL TREJO;
  OBDULIA JULIE CORTES;
  VILMA DE JESUS ALVARENGA CARRANZA; and those similarly situated

        Plaintiffs,
  v.

  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY; and
  WESTIN DIA OPERATOR, LLC,

        Defendants.
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       JOINT MOTION TO STAY ALL DEADLINES AND TOLL THE STATUTES OF
    LIMITATIONS FOR THE CONDITIONALLY CERTIFIED COLLECTIVE CLASSES’
                     FLSA CLAIMS PENDING MEDIATION


            CERTIFICATE OF CONFERRAL PURSUANT TO D.C.Colo. L.R. 7.1(A)

         The parties are filing this motion jointly.

                                                 MOTION

         The parties respectfully request that the Court stay all deadlines in these cases so the parties

  may pursue private mediation with the aim of reaching a Rule 23 classwide settlement for

  Defendants’ employees in Colorado.

         Since January 2018, the parties have been engaged in extensive class certification

  discovery, which has included several depositions, expert reports from both sides, and the

  production of tens of thousands of documents. Furthermore, the parties have briefed several

  dispositive issues with respect to Plaintiffs’ claims. Some of those motions are still pending before

  the Court. See, e.g., Valverde, ECF Doc. 241, Trejo, ECF Doc. 20. On August 31, 2018, the Court

  granted Plaintiffs’ motion for notice to tens of thousands of Defendants’ current and former

  employees around the country. This notice would inform these employees of their right to opt-in

  to the litigation to pursue Fair Labor Standards Act (FLSA), 29 U.S.C. § 201, et seq., claims against

  Defendants. Valverde, ECF Doc. 248. Defendants have begun the process of identifying contact

  information for tens of thousands of class members so that Plaintiffs can provide notice consistent

  with the Court’s order and Plaintiffs have provided draft notices and consent forms to Defendants.

         Considering the ongoing (and continued) costs of discovery for both sides, the risks for

  both sides relating to the outstanding motions, the costs of providing notice, and Plaintiffs’ belief


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  that Defendants may have altered the alleged policies that form the basis of Plaintiffs’ lawsuits to

  minimize or eliminate wage violations, the parties agree that it is prudent to explore the possibility

  of settlement. Furthermore, in light of preliminary settlement discussions, they are cautiously

  optimistic about the possibility of resolving this litigation through mediation.

         Pursuant to D.C.Colo.LCivR 16.6(a), the Court has the authority to grant the requested

  stay. Id. (“To facilitate settlement or resolution of the suit, the district judge . . . may stay the

  action in whole or in part during a time certain or until further order.”). The Court also has inherent

  authority to stay proceedings. See PWD, Inc. v. Travelers Indem. Co. of Am., Civil Action No. 17-

  cv-02561-RM-KMT, 2017 U.S. Dist. LEXIS 204120, *1 (D. Colo. Dec. 12, 2017) (citing Landis

  v. N. Am. Co., 299 U.S. 248, 254 (1936)).

         Furthermore, the five factors set forth in String Cheese Incident, LLC v. Stylus Shows, Inc.,

  2006 U.S. Dist. LEXIS 97388, *4–5 (D. Colo. March 30, 2006), which courts in the district often

  consider when presented with a motion to stay proceedings, weigh in favor of a stay. Plaintiffs

  state that their interests in proceeding expeditiously and avoiding potential prejudice will not be

  adversely impacted by a short stay pending mediation. Similarly, Defendants state they would

  suffer no undue burden from a stay. A stay is also in the interest of judicial economy, so a stay

  would not inconvenience the Court. Finally, the interests of third parties and the public at large do

  not weigh either for or against a stay, given that (1) potential FLSA opt-in plaintiffs have not yet

  received notices of these consolidated lawsuits, and (2) the parties have agreed to toll the running

  of the statute of limitations for any potential FLSA opt-in plaintiffs during the pendency of the

  stay, as described below. Thus, the Court should find that the parties’ requested stay is

  appropriate.


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         Because the parties request a stay before notice is transmitted to a nationwide class of

  potential FLSA opt-in plaintiffs, the parties also jointly request that the statutes of limitations for

  all potential FLSA opt-in plaintiffs be tolled during settlement negotiations so that their right to

  pursue FLSA claims—in this case if it does not resolve, or in another action if this case does

  resolve before notice—will not be prejudiced. Specifically, the parties request that, if a stay is

  granted by the Court, the FLSA statute of limitations be tolled for all members of all conditionally

  certified collective classes in these matters until (1) two weeks after any mediation undertaken by

  the parties or (2) two weeks after a notice to this Court by either party that settlement discussions

  have deteriorated and mediation will not be occurring.

         If the parties do not come to preliminary settlement agreement post-mediation, they will

  promptly issue notice to potential FLSA opt-in plaintiffs. If the parties are able to reach a

  preliminary class settlement for Colorado employees, their motion for preliminary approval of the

  settlement will discuss the rights of potential FLSA opt-in plaintiffs who worked in other states

  and have not joined in this action, but who will retain their right to pursue FLSA claims separately.

         The parties therefore jointly request that all deadlines in both of the above-captioned cases

  be stayed pending mediation and that the statutes of limitations for all members of the conditionally

  certified collective classes be tolled as described above.

                                                         Respectfully submitted,

                                                         s/Alexander Hood
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                                       Certificate of Service


         I hereby certify that on September 13, 2018 I served a true and correct copy of the
  forgoing on the individuals below pursuant to Fed. R. Civ. P. 5.


                                                      s/Alexander Hood
                                                      Alexander Hood
                                                      Attorney for Plaintiffs




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